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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
Eastern Division

 

 
   

UNITED STATES OF AMERICA d
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-vs- Case No. l :04cr10098-T

TERRY DICKERSON

 

ORDER OF TEMPORARY DETENTION
PENDING HEARING1 PURSUANT TO
BAIL REFORM ACT
Upon motion of the Government, it is ORDERED that a detention hearing is set for
THURSDAY, JUNE 30, 2005 at 2:45 P.M. before United States Magistrate Judge S. Thomas
Anderson in Courtroom No. 2, Fourth Floor, United States Courthouse and Federai Building,
111 South Highland, .Iackson, TN. Pending this hearing, the defendant shall be held in

custody by the United States Marshal and produced for the hearing.

Date: .Iune 28, 2005 /s/ S. Allan Alexander

 

S. ALLAN ALEXANDER
UNITED STATES MAGISTRATE JUDGE
NORTHERN DISTRICT OF MISSISSIPPI

 

‘If not held immediately upon defendants first appearance, the hearing may be continued for up to three days upon
motion of the govemment, or up to five days upon motion of the defendant. 18 U.S.C. § 3142(1‘)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(f) are present Subsection (1) sets forth
the grounds that may be asserted only by the attorney for the government; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470 (B/BE) Ordar 01 Ternporary Detention

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 1:04-CR-10098 Was distributed by faX, mail, or direct printing on
July 5, 2005 to the parties listed.

 

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jackson, TN 38301

Honorable J ames Todd
US DISTRICT COURT

